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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )          4:06CR3062
                                            )
                    Plaintiff,              )
                                            )
      vs.                                   )
                                            )          ORDER
ROBERT BERLIE,                              )
                                            )
                    Defendant.              )

      On the court’s own motion, and to accommodate a change in the undersigned’s
schedule,

      IT IS ORDERED that Defendant Berlie’s revocation hearing is rescheduled to 1:00
p.m. on Thursday, October 2, 2008, before the undersigned United States district judge, in
Courtroom No. 1, United States Courthouse and Federal Building, 100 Centennial Mall
North, Lincoln, Nebraska. The defendant shall be present unless excused by the court.

      August 20, 2008.                   BY THE COURT:

                                         s/ Richard G. Kopf
                                         United States District Judge
